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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Eastern Industries LLC,                             No. CV-23-00109-PHX-SMB
10                 Plaintiff,                            CASE MANAGEMENT ORDER
11   v.
12   Thomas Vella, et al.,
13                 Defendants.
14
15          The Court enters the following Case Management Order to govern the litigation in
16   this case:
17          1.     Deadline for Joining Parties, Amending Pleadings, and Filing Supplemental
18   Pleadings. The deadline for joining parties, amending pleadings, and filing supplemental
19   pleadings is 60 days from the date of this Order.
20          2.     Discovery Limitations. Deposition time shall be limited to 1 day of 7 hours
21   each as provided in Rule 30(d)(1) of the Federal Rules of Civil Procedure. Each side
22   may propound up to 25 interrogatories, including subparts, 25 requests for production of
23   documents, including subparts, and 25 requests for admissions, including subparts.
24          3.     Fact Discovery. The deadline for fact discovery, including discovery by
25   subpoena, shall be October 25, 2024. To ensure compliance with this deadline, the
26   following rules shall apply:
27                 a.        Written Discovery: All interrogatories, requests for production of
28   document, and requests for admissions shall be served at least 45 days before the
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 1   discovery deadline.
 2                  b.      The parties may mutually agree in writing, without Court approval,
 3   to extend the time provided for discovery responses in Rules 33, 34, and 36 of the Federal
 4   Rules of Civil Procedure. Such agreed-upon extensions, however, shall not alter or
 5   extend the discovery deadlines set forth in this Order.
 6           4.     Expert Disclosures and Discovery.
 7                  a.      Plaintiff(s) shall provide full and complete expert disclosures, as
 8   required by Rule 26(a)(2)(A)-(C) of the Federal Rules of Civil Procedure, no later than
 9   August 1, 2024.
10                  b.      Defendant(s) shall provide full and complete expert disclosures, as
11   required by Rule 26(a)(2)(A)-(C) of the Federal Rules of Civil Procedure, no later than
12   September 4, 2024.
13                  c.      Rebuttal expert disclosures, if any, shall be made no later than
14   October 15, 2024. Rebuttal experts shall be limited to responding to opinions stated by
15   initial experts.
16                  d.      Expert depositions shall be completed no later than November 29,
17   2024.
18                  e.      Disclosures under Rule 26(a)(2)(A) must include the identities of
19   treating physicians and other witnesses who will provide testimony under Federal Rules
20   of Evidence 702, 703, or 705, but who are not required to provide expert reports under
21   Rule 26(a)(2)(B). Rule 26(a)(2)(C) disclosures are required for such witnesses on the
22   dates set forth above. Rule 26(a)(2)(C) disclosures must identify not only the subjects on
23   which the witness will testify but must also provide a summary of the facts and opinions
24   to which the expert will testify. The summary, although clearly not as detailed as a
25   Rule 26(a)(2)(B) report, must be sufficiently detailed to provide fair notice of what the
26   expert will say at trial.1
27   1
       In Goodman v. Staples The Office Superstore, LLC, 644 F.3d 817 (9th Cir. 2011), the
     Ninth Circuit held that “a treating physician is only exempt from Rule 26(a)(2)(B)’s
28   written report requirement to the extent that his opinions were formed during the course
     of treatment.” Id. at 826. Thus, for opinions formed outside the course of treatment,

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 1                 f.     As stated in the Advisory Committee Notes to Rule 26 (1993
 2   Amendments), expert reports under Rule 26(a)(2)(B) must set forth “the testimony the
 3   witness is expected to present during direct examination, together with the reasons
 4   therefor.” Full and complete disclosures of such testimony are required on the dates set
 5   forth above; absent extraordinary circumstances, parties will not be permitted to
 6   supplement expert reports after these dates. The Court notes, however, that it usually
 7   permits parties to present opinions of their experts that were elicited by opposing counsel
 8   during depositions of the experts. Counsel should depose experts with this fact in mind.
 9                 g.     Each side shall be limited to one retained or specifically employed
10   expert witness per issue.
11          5.     Discovery Disputes.
12                 a.     If a discovery dispute arises, the parties promptly shall call the Court
13   to request a telephone conference concerning the dispute. The Court will seek to resolve
14   the dispute during the telephone conference and may enter appropriate orders on the basis
15   of the telephone conference. The Court may order written briefing if it does not resolve
16   the dispute during the telephone conference. The parties shall not file written discovery
17   motions without leave of Court.2
18                 b.     Parties shall not contact the Court concerning a discovery dispute
19   without first seeking to resolve the matter through personal consultation and sincere
20   effort as required by Local Rule of Civil Procedure 7.2(j). Any briefing ordered by the
21   Court shall also comply with Local Rule of Civil Procedure 7.2(j).
22                 c.     Absent extraordinary circumstances, the Court will not entertain fact
23   discovery disputes after the deadline for completion of fact discovery, and will not
24   entertain expert discovery disputes after the deadline for completion of expert discovery.
25          6.     Dispositive Motions.
26
     Rule 26(a)(2)(B) written reports are required. Id. For opinions formed during the course
27   of treatment, Rule 26(a)(2)(C) disclosures will suffice.
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          The prohibition on “written discovery motions” includes any written materials
28   delivered or faxed to the Court, including hand-delivered correspondence with
     attachments.

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 1                 a.     Dispositive motions shall be filed no later than January 31, 2025.
 2                 b.     No party shall file more than one motion for summary judgment
 3   under Rule 56 of the Federal Rules of Civil Procedure without leave of court.
 4                 c.     Statements of fact required by Local Rule of Civil Procedure 56.1
 5   shall not exceed ten pages in length, exclusive of exhibits. The parties should review
 6   Hunton v. Am. Zurich Ins. Co., No. CV-16-00539-PHX-DLR, 2018 WL 1182552, at *5
 7   (D. Ariz. Mar. 7, 2018), before briefing summary judgment motions.
 8                 d.     The parties shall not notice oral argument on any motion. Instead, a
 9   party desiring oral argument shall place the words “Oral Argument Requested”
10   immediately below the title of the motion pursuant to Local Rule of Civil Procedure
11   7.2(f). The Court will issue an order scheduling oral argument as it deems appropriate.
12                 e.     Copies of all dispositive motions and attachments must be delivered
13          to chambers within 48 hours of filing.
14          7.     Good Faith Settlement Talks. All parties and their counsel shall meet in
15   person and engage in good faith settlement talks no later than December 13, 2024. Upon
16   completion of such settlement talks, and in no event later than five working days after the
17   deadline set forth in the preceding sentence, the parties shall file with the Court a joint
18   report on settlement talks executed by or on behalf of all counsel. The report shall inform
19   the Court that good faith settlement talks have been held and shall report on the outcome
20   of such talks. The parties shall indicate whether assistance from the Court is needed in
21   seeking settlement of the case. The parties shall promptly notify the Court at any time
22   when settlement is reached during the course of this litigation.
23          8.     The Deadlines Are Real. The parties are advised that the Court intends to
24   enforce the deadlines set forth in this Order and should plan their litigation activities
25   accordingly. The parties are specifically informed that the Court will not, absent truly
26   unusual circumstances, extend the schedule in this case to accommodate settlement talks.
27          9.     Briefing Requirements.
28                 a.     All memoranda filed with the Court shall comply with Local Rule of


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 1   Civil Procedure 7.1(b) requiring 13-point font in text and footnotes.
 2                 b.      Citations in support of any assertion in the text shall be included in
 3   the text, not in footnotes.
 4          Trial Setting Conference
 5          On February 14, 2025 at 8:45 a.m. (15 minutes allowed), the Court will conduct
 6   a telephonic trial setting conference. Participants shall have their calendars available for
 7   the conference.     The parties will receive dial-in instructions for connecting to the
 8   teleconference via electronic mail prior to the hearing.
 9          Dated this 20th day of May, 2024.
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